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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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                                                                    Case No. 15-cv-00359 (VSB)
Euro Pacific Capital Inc., et al.
                                            Plaintiff,

           -against-

Yayi International Inc.                      Defendant.
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                                                NOTICE OF CHANGE OF ADDRESS

TO:        ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES


9
✔          I have cases pending                                     9        I have no cases pending

Pursuant to Local Rule 1.3 of this Court, please take notice of the following attorney information change (s) for:


                                   David Graff
                                 _________________________________________________
                                        FILL IN ATTORNEY NAME

                       DG7011
My SDNY Bar Number is:_________________                         4705281
                                        My State Bar Number is ______________

I am,
           9✔          An attorney
           9           A Government Agency attorney
           9           A Pro Hac Vice attorney

FIRM INFORMATION (Include full name of firm (OLD AND NEW ), address, telephone number and fax number):

OLD FIRM:              FIRM         Anderson Kill P.C.
                              NAME:_______________________________________________
                       FIRM            1251 Avenue of the Americas, NY, NY 10020
                              ADDRESS:____________________________________________
                       FIRM   TELEPHONE NUMBER:________________________________
                                                     212-278-1333
                       FIRM                212-278-1733
                              FAX NUMBER:________________________________________

NEW FIRM:              FIRM         Robins Kaplan LLP
                              NAME:_______________________________________________
                       FIRM            399 Park Avenue, Suite 3600, NY, NY 10022
                              ADDRESS:____________________________________________
                       FIRM                         212-980-7400
                              TELEPHONE NUMBER:________________________________
                       FIRM                 212-980-7401
                              FAX NUMBER:________________________________________


           9
           ✔           I will continue to be counsel of record on the above-entitled case at my new firm/agency.


           9           I am no longer counsel of record on the above-entitled case. An order withdrawing my appearance
                       was entered on ______________ by Judge_________________________.


Dated: January 19, 2018                                    /s/ David Graff
                                                           ____________________________
                                                           ATTORNEY’S SIGNATURE
